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8                              UNITED STATES DISTRICT COURT
9                           NORTHERN DISTRICT OF CALIFORNIA
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      UNITED STATES OF AMERICA,                           Case No. 22-cr-0338 BLF
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                        Plaintiff,
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               v.                                         DETENTION ORDER
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      CARY LEE PETERSON,                                  Hearing: 9/23/2022
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                        Defendant.
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            In accordance with the Bail Reform Act, 18 U.S.C. § 3142, the Court on September
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     23, 2022, held a hearing to determine detention or release on supervisory conditions for
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     defendant Cary Lee Peterson. He is charged in this case with violating the terms of his
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     supervised release. Supervision of Peterson was transferred from the District of New Jersey
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     after Peterson was convicted of false certification and securities fraud. The defendant
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     appeared at the hearing with his retained counsel Jessie Ortiz, with all parties and counsel
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     appearing personally before the Court. U.S. Probation Officer Cardenas was also present
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     and argued in favor of detaining the defendant.
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            Under Fed. R. Crim. P. 32.1(a)(6) and 18 U.S.C. §3143(a), the defendant charged
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 1 with violation of supervised release has the burden of establishing by “clear and convincing
 2 evidence” that he or she will not flee or pose a danger to any other person or to the
 3 community. Here, Peterson did not establish evidence to overcome this burden. The Court
 4 considered release to Peterson’s home, as requested by Peterson. The Prosecution and
 5 Probation Officer each recommended detention. Ultimately, despite Peterson’s vigorous
 6 challenge to the charges and evidence presented against him, the Court finds that the serious
 7 violations alleged here involving fraud and abuse of power; the weight of the evidence; the
 8 assertions of deception and lack of truthfulness by Peterson; and the documents (exhibits
 9 filed at ECF 6) evidencing Peterson’s violations, lead the Court to conclude that no
10 combination of conditions may presently be imposed that would mitigate the risks of non-
11 appearance and danger to the community. Consequently, the Court orders the defendant
12 Peterson to be detained. A preliminary hearing is scheduled before me October 5, 2022, at
13 1:30 p.m. in San Jose.
14          The defendant is committed to the custody of the Attorney General or his designated
15 representative for confinement in a corrections facility separate, to the extent practicable,
16 from persons awaiting or serving sentences or being held in custody pending appeal. The
17 defendant must be afforded a reasonable opportunity for private consultation with defense
18 counsel. On order of a court of the United States or on the request of an attorney for the
19 Government, the person in charge of the corrections facility must deliver the defendant to a
20 United States Marshal for the purpose of an appearance in connection with a court
21 proceeding.
22         IT IS SO ORDERED.
23         Date: September 23, 2022                  _________________________
                                                     Nathanael M. Cousins
24                                                   United States Magistrate Judge
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